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CHARLES WAGNER,
P|aintiff,

V. NO. 04-2696-BV

lVlERlT DlSTR|BUT|ON,

AUST|N TRUCK & TRA!LER REPA|R CENTER,
JA|VlES AUSTlN, SR., in his individual capacity, and
JAN|ES AUSTIN, JR., in his individual capacity,

Defendants.

 

AMENDED CONSENT ORDER GRANT|NG JO|NT MOT|ON FOR MOD|F|CATlON
OF THE COURT’S SCHEDUL[NG ORDER

 

lt appearing to this Court that good cause is shown and that the parties’ Joint
l\/lotion for lVlodification of the Court’s Schedu|ing Order should be granted;

lT lS, THEREFORE, ORDERED that this Court’s Scheduling Order be modified
to allow Plaintiff up to and including Nlay 27, 2005 to make his Rule 26 expert disclosure

and be modified to allow the Defendants up to and including Ju|y 27, 2005 to make their

uaw 7a %W

UN|TED STATES l\/IAGISTRATE JUDGE

oATE; W@U /&, OWJS

Rule 26 expert disclosure

 

Thls document entered on the docket sheet in compliance
with Flule 58 and/cr 79(a) FHCP on / '

Case 2:04-cv-02696-.]DB-dl<v Document 14 Filed 05/16/05 Page 2 of 3 PagelD 25

AGREED:

fmc il gee

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Honorable .1. Breen
US DISTRICT COURT

